            Case 7:20-mj-12903-UA Document 8 Filed 12/29/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
 UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED BY VIDEO OR
                                                                               TELE CONFERENCE
                             -against-
                                                                                  -CR-   ( }( }

                                                                                    20 MJ 12903
KEVIN GRANT
                                                Defendant(s).
-----------------------------------------------------------------X

Defendant _ _ _ _ _ _ Kevin Grant_ _ _ _ _ _ _ hereby voluntarily consents to
participate in the following proceeding via _X_ videoconferencing or _X_ teleconferencing:

         Initial Appearance Before a Judicial Officer

         Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

_X_      Bail/Detention Hearing

         Conference Before a Judicial Officer




~ ~dA'fifL~IJ                   I
Defendant's Signature
{Judge may obtain verbal consent on
Record and Sign for Defendant)

_Kevin Grant
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Print Defendant's Name
                                                          - - -Print
                                                                Michael K. Burke
                                                                                 -------
                                                                     Counsel's Name



This proceeding was conducted by reliable video or telephone conferencing technology.

IJ.};)€)~
Datr        r
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                                                                     tt:&auti, I Ul:e»fU.S. Magistrate Judge
